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FEDERAL TRADE comsson JAN 2 g 20 19
Plain&n‘. °£K;J€T?Mm
v. No: ]8-cv-3309-le wm
ECOLOGICAL Fox, LI..C et al.
Defcndants.
FEDERAL TRADE comsslow
Plaimih: No.~ 03.¢v-3317-PJM
V.
AMERIDEBT, ma cr al.
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STTP[HATED ORDER GRANTING IN PART FEDERAL T.RADE COMMISSON’S
MO'I`£ON TO CLA.R.IFY PUBLIC ACCESS TO THE DOCKETS AND NORMALIZE
FILING PROCEDURES

Whereas the Fedm'a] Trado Commission (“FTC”} previously filed a motion to clarify
public access to the docket and normalize filing procedures (“Unsealing Motion"} in the related
AmeriDebr and Ecologica! Fax mmcrs;

Whereas the Unseaiing Motion in both matters sought w unseal most documents with
limited exceptions including previously-identified Personal Idemifying luformatim\ C?B") and
law enforcement information covered by orders on Novcmber 5, 2018 in both actions;

thrcas no party responded to the Unscaling Motion in AmerfDebt and only Atiantio
Intemational Bank Ltd. (“AIB”) responded to the Unsealing Motion in Eco!ogical Fax, asserting

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that certain documents or portions of documents submitted in Ecoiogical Fox should remain
sealed or redacted;

Whereas the Court previously granted Fox News Network I..I,C*s motion for a protective
order seeking to redact certain materials;

Whereas the Ccurt previously granted lsland Giobal Yachting (“[GY‘s") motion for a
protective order seeking to redact certain materials; and

Wherees the FI`C and AIB hereby stipulate and agree that the dispute between them over
the sealing or rcdecting of certain documents does not relate to any documents filed prior to
Decernber 24, 2018 in either Eoolngrba! Fox or AmeriDebt except for those identified by AlB in
its Deeember 24, 2018 filing concerning the Unsealing Motion;

IT IS THEREFORE ORDEREI):

A. All documents Eled in this matter prior to December 24, 2018 shall be made
public. subject to previously provided reflections in accordance with prior protective orders
consenting Fox and lGY materials with the exception of the documents identified below, which
shall remain sealed until the hearing oun'ent.ly scheduled for Febmary l, 2019. The Courc will
address AJB’s objections at the February l, 2019 healing unless the FI`C'and AIB reach an
agreement prior to that hearing Documents filed on or after December 24, 2018 will remain
sealed until nder the hearing on Februery 1, 2019 to permit the parties an opportunity to object if
they so choose Any f\o'ther requests to seai or other further briefing concerning the sealing or
reduction of documents filed before the issuance of this Order shall be filed by noon on .ls.nuary
28, 2019, with any response filed by noon on January 31, 20i9.

B. AlB’s previously stated objections cover the following documents which will
remain sealed al least until the February 1, 2019 hearing:

l. Defendzmt Atlentic international Ba.nk, Ltd.‘s Ernergeney Motion to
Amend Ex Pnrte Tempors.ry Restraining Order, filed November l 1, 2018;

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2. Det`eodant Atlantie Intemational Bank, Ltd.’s Amended Emergeney
Motion to Amend Ex Pa.rte Temporru'y Restraining Order, filed November ll, 2013;

3. Declamtlon of Leonard Rose, filed November 11, 2018;

4 Declaration ofRicardo Pelayo, Eled November 12. 2018:

5. Supplementel Deciamtion ofRicardo l’elayo, filed November 13, 2018;

6 Repott Reganding Meeting with Central Benk ofBeliz.e, filed November
13, 2018;

7. Declaration of Crni g D. Stone in Support of Defendant Atlentic
lnternationa.i Bank Ltd.'s Opposition 10 Preliminary lujunction, iicd November 15, 2018;

8. Declmntion of Ricardo Pelayo in Support of Defendant Atlantic
lnLernational Banlt Limitcd’s Opposition to the Federal Trade Commission’s Motion for a
Preliminary lnjunction, filed November 15, 2018;

9. Atlantic lnternational Banlr., Ltd.’s Opposition to Federa] Trsde
Commission’s Motion for a Preliminaqr Injunction, filed Novcmber 15, 2018;

10. Atlantic lntemational Bank, Ltd.’s Motion to Exwed page Limit, filed
November l$, 2018;

l l. Supplemental'l)eclaration ofMohmnad Batal Pursuant to 28 U.S.C. §
1746, submitted as “PXRR.,” filed Novembm 18, 2018;

12. FI`C’s Repiy in Support oflts Motion for a Preliminary ¥njunction Against
Atlantic lnternationa.l Bank. filed November 18, 2018; and

13. Declaration of Shavm Larsen~Brigbt in Support ofDefendant Atlentic
lnternacional Bank Limited's Response to FI`C’s Motion to Clan'{y Publie Access to the Doclcet
and Normalize Filing Proeodure in Ecological Fox, filed December 24, 2018.

C. Except for the sealed portions1 e&`eetively immediateiy, the Clerk’s Oftice will

make the Ameri.Debt and Eeologe'eal Fo.r matters public and available through both the PACER

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and ECF systems Tl'w Clcrk’s thoo slull keep the docummts idmtl§ed bench sealed until

afterthehearing on Fobrum'y l, 2019.
D. Moying furward, the parties must lite documents using the Com't’s ECF system,

and fully comply with all Loml Rulcs when making to file any material under seal.

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so onnEnEo,rhisH/day of \/ /l F\/ ,2019.

  

SO STTP[MTED AND AGREED:

FOR 'I'HE FEDERAL TRADE COMMISSION:

 

Khouryanna Danma (kd una@‘hc cv
Fodcral Tradc Commi.'.si¢:gr 'g ]

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-3197 (facs e)

 

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(202 442-3199 (Fax)
Ccnmsol for Defendnnt Atlantic
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